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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND


 ANDREW JOSEPH SMITH
     Plaintiff,

 v.

 STATE OF RHODE ISLAND FAMILY                              C.A. No. 1:19-cv-00550-MSM-LDA
 COURT; ET. AL.,
      Defendants.




                               NOTICE OF WAIVER OF REPLY

       NOW COME Defendants State of Rhode Island Family Court, State of Rhode Island

Supreme Court, and Associate Justice Patricia K. Asquith, in her official capacity as a Family

Court Judge (collectively hereinafter, the “State”), hereby submit this Notice of Waiver of Reply,

pursuant to the Prison Litigation Reform Act, 42 U.S.C. § 1997e (“PLRA”), which in pertinent

part provides:

                 (g) WAIVER OF REPLY:
                 (1) Any defendant may waive the right to reply to any action by a
                 prisoner confined in any jail, prison, or other correctional facility
                 under section 1983 of this title or any other Federal law.
                 Notwithstanding any other law or rule of procedure, such waiver
                 shall not constitute an admission of the allegations contained in the
                 complaint. No relief shall be granted to the plaintiff unless a reply
                 has been filed.
                 (2) The court may require the defendant to reply to a complaint
                 brought under this section if it finds that the plaintiff has a
                 reasonably opportunity to prevail on the merits.

                 42 U.S.C. 1997e(g) (emphasis added).

       Further, in Jones v. Bock, the United States Supreme Court discussed the § 1997e waiver

and held:


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                  Courts are to screen inmate complaints ‘before docketing, if
                  feasible, or, ... as soon as practicable after docketing,’ and dismiss
                  the complaint if it is ‘frivolous, malicious, ... fails to state a claim
                  upon which relief may be granted[,] or ... seeks monetary relief from
                  a defendant who is immune from such relief.’ 28 U.S.C. §§
                  1915A(a), (b). All this may take place before any responsive
                  pleading is filed-unlike in the typical civil case, defendants do not
                  have to respond to a complaint covered by the PLRA until required
                  to do so by the court and waiving the right to reply does not
                  constitute an admission of the allegations in the complaint.

                  Jones v. Bock, 549 U.S. 199, 213–14 (2007) (quoting 42 U.S.C. §§
                  1997e(g)(1), (2)) (emphasis added).


         Currently, Plaintiff is serving a three-year term sentence for child pornography at the

Rhode Island Medium-Security Facility in the Adult Corrections Institutions, and therefore meets

the definition of “prisoner” under the PLRA. See 42 U.S.C. §1997(h). Further, a simple cursory

review of the instant Complaint also reveals the frivolous and meritless nature of the suit – as it is

yet another attempt by Plaintiff to overrule the State Courts’ decisions on the outcome of the

divorce proceedings between Plaintiff and Co-Defendant, Terryann Smith.1 Furthermore, the


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  The following provides a list of all cases initiated by Plaintiff, largely relating to the divorce proceedings and/or his
criminal actions as a result of the divorce, i.e. breaking and entering into Co-Defendant Terryann Smith’s home to
take valuables:

Smith v. State of RI, No. 1:17-cv-480-JJM-PAS (D.R.I. 2017) (dismissing Plaintiff’s claims as an improper attempt
to interfere with an ongoing Rhode Island Family Court divorce proceeding against Plaintiff); Smith v. State of RI,
1:17-cv-525-JJM-LDA (D.R.I. 2017) (dismissing Plaintiff’s claims as an improper attempt to interfere with an
ongoing Rhode Island Superior Court criminal proceeding against Plaintiff); Smith v. Federal Bureau of Investigations
and State of RI, No. 1:18-cv-00013-JJM-PAS (D.R.I. 2018) (dismissing Plaintiff’s claims as an improper attempt to
interfere with an ongoing Rhode Island Superior Court criminal proceeding against Plaintiff); Smith v. Hon. Alan R.
Goulart, No. 1:18-cv-00020-WES-LDA (D.R.I. 2018) (dismissing Plaintiff’s claims against a Rhode Island Magistrate
Judge that issued a search warrant in connection with a state criminal investigation); Smith v. Smith, No. 1:18-cv-
00092-JJM (D.R.I. 2018) (dismissing Plaintiff’s claims as “frivolous” and an improper attempt to interfere with an
ongoing Rhode Island Superior Court criminal proceeding against Plaintiff); Smith v. State of RI, No. 1:18-cv-00027-
JJM-LDA (D.R.I. 2018) (dismissing Plaintiff’s habeas corpus petition for failure to exhaust state court remedies);
Smith v. State of RI, No. 1:18-cv-00621-WES-LDA (D.R.I. 2018) (denying and dismissing Plaintiff’s habeas corpus
petition for failure to exhaust state court remedies); Smith v. State of RI, RI Family Ct., and RI Supreme Ct., No. 1:18-
cv-00370-WES-LDA (D.R.I. 2018) (dismissing Plaintiff’s claims as an improper attempt to review and overturn
rulings made by the Rhode Island Family Court and Rhode Island Supreme Court); Smith v. Neronha and Raimondo,
No. 1:19-cv-00029-JJM-LDA (D.R.I. 2019) (dismissing Plaintiff’s claims as an improper attempt to interfere with an
ongoing Rhode Island Superior Court criminal proceeding against Plaintiff); Smith v. Neronha and Raimondo, No.
19-1470 (1st Cir. 2019) (dismissing appeal for lack of prosecution); and Smith v. 39 Incorporations, RI Supreme Ct.,

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instant Complaint involves the ownership of a property to which Mr. Smith has no legal right to –

as he conveyed the property to a Ms. Marcia E. McCabe during the divorce proceedings in 2016.2

         Recently, this Court issued a Report and Recommendation in Smith v. 39 Rhode Island

Incorporations, recognizing Mr. Smith’s “lengthy history of frivolous and abusive filings in this

Court” and recommending the following proposed order to “address Plaintiff’s pattern of filing

frivolous and abusive lawsuits”:

         Plaintiff Andrew Smith is prohibited from filing any additional complaints or other
         papers in this Court, except for filings in currently-pending cases to object to a
         Report and Recommendation of a Magistrate Judge or to effect [sic] an appeal from
         this Court, without first obtaining the prior written approval of a District Judge of
         this Court. If Plaintiff Andrew Smith wishes to file any additional complaints or
         other papers in this Court, he shall file a written petition seeking leave of Court to
         do so. The petition must be accompanied by copies of the documents sought to be
         filed, and a certification under oath that there is a good-faith basis for filing them
         in Federal Court. The Clerk of Court shall accept the documents, mark them
         received and forward them to a District Judge of this Court for action on the petition
         for leave to file.

Report and Recommendation, ECF 19, Smith v. 39 Rhode Island Incorporations, et al., C.A. No.

1:19-cv-001100-WES-LDA (D.R.I. Nov. 15, 2019), attached hereto as Exhibit B. Accordingly, it

is glaringly clear that the instant Complaint is yet another frivolous and abusive lawsuit filed by

Mr. Smith—and the type of pleading that the PLRA necessitates courts to screen and summarily

dismiss. See Jones v. Bock, 549 U.S. 199, at 213-214; see also 28 U.S.C. § 1915A; 42 U.S.C. §

1997e(c). However, should the Court find that the instant Complaint has merit, the State will

respond upon request by the Court, pursuant to 42 U.S.C. § 1997e(g).


No. 1:19-cv-00110-WES-LDA (D.R.I. 2019) (pending decision on the State’s motion to dismiss); see also Smith v.
Smith, No. P20142875 (R.I. Fam. Ct. 2018) (granting Co-Defendant Terryann Smith an absolute divorce and imposing
sanctions on Plaintiff for acting in bad faith and repeatedly filing frivolous motions to increase litigation costs), aff’d
207 A.3d 447, 451 (R.I. 2019) (“If ever there was a case in which this sanction was warranted, the facts of this case
cry out for such a remedy.”).
2
 See Warranty Deed Andrew J. Smith to Marcia McCabe, recorded Sept. 2, 2016, in Cranston, RI, Book No. 5287,
Pg. 183; Corrective Deed Andrew J. Smith to Marcia E. McCabe, recorded on Oct. 30, 2019, in Cranston, RI, Book
No. 5287, Pg. No. 183, unofficial copy of first page of deed attached hereto as Exhibit A.

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                                                    Respectfully Submitted,

                                                    DEFENDANTS
                                                    RHODE ISLAND FAMILY COURT;
                                                    RHODE ISLAND SUPREME COURT; and
                                                    ASSOCIATE JUSTICE PATRICIA
                                                    ASQUITH, in her official capacity,

                                                    By their Attorneys,

                                                    PETER F. NERONHA
                                                    ATTORNEY GENERAL

                                                    /s/ Alison B. Hoffman
                                                    /s/ Justin J. Sullivan
                                                    Alison B. Hoffman, Esq. (#9811)
                                                    Justin J. Sullivan, Esq. (#9770)
                                                    Special Assistant Attorneys General
                                                    Rhode Island Office of the Attorney General
                                                    150 S. Main St., Providence, RI 02903
                                                    Tel: (401) 274-4400 | Fax: (401) 222-2995
                                                    Ext. 2116 | ahoffman@riag.ri.gov
                                                    Ext. 2007 | jjsullivan@riag.ri.gov

                                CERTIFICATE OF SERVICE

       I hereby certify that on Monday, November 25, 2019 I filed the within document via the
ECF filing system and that a copy is available for viewing and downloading. I further certify that
on Monday, November 25, 2019 I mailed a true and accurate copy of the within document via
U.S. First Class mail, postage prepaid, to the following:

Andrew J. Smith, pro se (ID#152162)
Medium Security BR-5B
P.O. Box 8274
Cranston, RI 02920

                                                     /s/ Diane Milia




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